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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           CENTRAL DIVISION AT LEXINGTON

                                                                  FILED ELECTRONICALLY

 IN RE CLASSICSTAR MARE LEASE                        )     MDL No. 1877
 LITIGATION                                          )
                                                     )
                                                     )      Master File:
 AND                                                 )     Civil Action No.: 5:07-cv-353-JMH
                                                     )
 WEST HILLS FARMS, LLC, ET AL.                       )
                                                     )
                              PLAINTIFFS             )
 V.                                                  )     CASE NO.: 06-243-JMH
                                                     )
 CLASSICSTAR, LLC, ET AL.                            )
                                                     )
                              DEFENDANTS             )


                       WEST HILLS’ SUR-REPLY TO OBJECTIONS
                         BY GEOSTAR CORPORATION, ET AL.

        The West Hills Plaintiffs submit this Sur-Reply to Defendants’ Reply in Support of

 Objections to Plaintiffs’ Request for Damages [D.E. 2293]:

                                       INTRODUCTION

        In their Reply, the Defendants attempt to reopen a number of issues resolved by the

 Court’s decision to grant the Plaintiffs’ Motion for Summary Judgment in its entirety. In that

 Motion, Plaintiffs specified precisely the rescissionary damages that they sought and explained

 the basis upon which their expert, George Keeney, had calculated those damages. The Court

 accepted these calculations, permitting supplementation by the Plaintiffs for the limited purposes

 of allowing them to drop their far higher benefit of the bargain damages claims, reducing their

 out of pocket claims by the amounts recovered since filing the summary judgment motion, and
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 calculating prejudgment interest. Defendants have construed this as an invitation to argue for a

 rehearing on the amount of damages, raising issues not contained in Plaintiffs’ Notice

 Supplementing Amount of Plaintiffs’ Damages or in their Reply to Defendants’ Objections to

 Plaintiffs’ Notice [D.E. 2267 and 2271,] and issues which in no way justify a reduction of the

 damages already awarded by the Court.

                                            ARGUMENT

        A.      Plaintiffs Have Been Awarded the Proper Measure of Compensatory Damages.

        As the Court found in granting Plaintiffs’ Motion for Summary Judgment, Defendants

 obtained Plaintiffs’ participation in the Mare Lease Program through a series of omissions and

 misrepresentations that included everything from the assignment of phantom horses, to the

 overvaluing of the horses that did exist, to the bribing of Plaintiffs’ attorneys, to the falsification

 of information which Defendants knew participants would provide to the IRS. No matter how

 many times Defendants say otherwise, Plaintiffs obviously did not assume any risks associated

 with the fraudulent nature of the Program. In fact, Plaintiffs would not have participated – and

 would not have suffered any losses – but for Defendants’ lies. Under these circumstances, the

 out of pocket damages sought by Plaintiffs indisputably represented a proper measure of their

 loss. See Fleishhauer v. Feltner, 879 F.2d 1290, 1300 (6th Cir. 1989) (awarding plaintiffs

 amount actually invested in fraudulent scheme, and identifying that as proper measure of damage

 to plaintiff’s business or property under the circumstances); Waters v. Int’l Precious Metals

 Corp., 172 F.R.D. 479, 506 (S.D. Fla. 1996) (“With respect to the calculation of damages

 proximately caused by the RICO violations…based on Plaintiffs’ theory that they would not

 have invested but for the Alleged Scheme, the appropriate measure is the total amount of

 Plaintiffs’ out of pocket capital invested which they would not have invested but for the Alleged



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 Scheme.”); Terrell v. Childers, No. 93-C-2460, 1993 WL 433687, at *5 (N.D. Ill. Oct. 21, 1993)

 (“Finally, damages in a RICO action can also be measured by the amount invested as a result of

 defendants’ fraud.”)

          Mr. Keeney’s expert report, attached as Exhibit 22 to Plaintiffs’ Motion for Summary

 Judgment and Exhibit A to this Sur-Reply, makes it plain that Plaintiffs do not overreach by

 choosing this methodology. Keeney calculated damages in several ways, including an out of

 pocket computation and an alternative benefit of the bargain analysis. Id., pp. 24-26.1 For each

 Plaintiff, the benefit of the bargain calculation far exceeded the out of pocket damages which the

 Plaintiffs actually claimed.          For instance, while Nelson Breeders’ rescissionary damages,

 awarded by the summary judgment, totaled $2,839,000, the benefit of the bargain calculation

 would have given Nelson Breeders $27,424,000. Similarly, the alternative benefit of the bargain

 calculations relating to FEEP and GFSC, which MacDonald and the Grovers gave up as part of

 their efforts to obtain a final judgment, would have yielded them, exclusive of prejudgment

 interest, $14,004,828 and $11,011,707, instead of $8,479,000 and $5,146,000, respectively.

 Thus, damages which do no more than return the Plaintiffs the amounts that they would not have

 invested but for the Defendants’ fraud and compensate them for the loss of use of these sums

 neither overcompensate Plaintiffs nor impose any undue liability on Defendants.

          While Defendants now argue for a different measure of damages, which they present

 through alternative damages calculations made by their lawyers rather than by their expert2, they


 1
   Under the similar state claim for fraud, Kentucky law recognizes both rescission and benefit of the bargain
 damages as appropriate. See Patel v. Patel, 706 S.W.2d 3, 5 (Ky. App. 1986).
 2
   While it is difficult to understand how Defendants made their calculations, or why Defendants failed to count the
 full amount of Plaintiffs’ cash investments, or how Defendants could compute prejudgment interest at less than
 $50,000 on principal investment balances which range from three to eleven million dollars and which have been
 outstanding for over seven years, it is abundantly clear that Defendants’ calculation is in no way based on the out of
 pocket measure of damages sought by Plaintiffs in their Summary Judgment Motion and approved by this Court in
 granting that Motion.

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 made no effort to contest Plaintiffs’ damages calculations in their Response to Plaintiffs’ Motion

 for Summary Judgment. In that Motion, Plaintiffs specifically requested their out of pocket

 losses and attached the Keeney report which not only quantified those amounts but also detailed

 the exact methodology which Keeney used to reach his total.               [D.E. 1698, Plaintiffs’

 Memorandum in Support of their Motion for Summary Judgment, pp. 49, 71, 87 and Exhibit 22.]

 Defendants took issue with neither, not even mentioning damages anywhere in their Response.

 They have no basis for doing so now.

        Likewise, they have no basis for belatedly finding fault with Keeney’s specific

 calculations – either his original damages calculations contained in the Report attached to

 Plaintiffs’ Summary Judgment Motion [Exhibit A, attached] or his Supplemental Report which

 merely updates those calculations through trial. [Exhibit B, attached.] Contrary to Defendants’

 suggestion, Keeney’s calculations give Defendants the full benefit of the amounts recovered by

 Plaintiffs, whether in connection with horses or stock or settlements from other RICO

 Defendants. As soon as Plaintiffs recovered these benefits, Keeney deducted their value from his

 total losses and calculated interest based on the reduced amount. These calculations, which

 award Plaintiffs prejudgment interest on their initial investment in the ClassicStar scheme minus

 any amounts which they managed to recover, are entirely consistent with the out of pocket

 measure of damages sought by Plaintiffs and approved by this Court. On the other hand,

 Defendants’ calculations are wholly inconsistent with this out of pocket measure. Indeed, in

 offsetting Plaintiffs’ damages by the full amount of the contractual values of the delivered horses

 (rather than by the actual amount that Plaintiffs’ recovered from their sale of those horses),




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 Defendants wrongly apply a benefit of the bargain rather than an out of pocket measure to the

 damages.3

          Finally, Defendants have never before argued that they should receive credit for amounts

 recovered from Plaintiffs’ attorneys, not RICO defendants in this action, prior to the filing of the

 summary judgment. Keeney’s report made no pretense of deducting theses amounts, Plaintiffs

 asked for a specific amount of damages which did not include these separate losses, and the

 Court granted the Motion, resolving this issue.4

          In sum, Plaintiffs would not have given any money to Defendants but for the Defendants’

 fraud. Defendants’ argument that Plaintiffs assumed the risk of some portion of their losses is

 akin to their argument that Plaintiffs bore equal responsibility for the operation of the Mare

 Lease scheme. The Court rejected this argument by granting the Motion for Summary Judgment.

 It makes no sense to revisit it now, when Plaintiffs have asked for and been granted a measure of

 damages which is both legally permissible and eminently reasonable.

          B.       Plaintiffs are Entitled to Mandatory Treble Damages and Attorney Fees.

          Perhaps acknowledging the propriety of Plaintiffs’ claims, Defendants declined the

 Court’s direction to address treble damages and attorney fees. The language of 18 U.S.C.

 §1964(c) requires a successful RICO plaintiff receive both treble damages and attorney fees. Id.


 3
   Defendants’ counsel’s damages calculations, which selectively apply a benefit of bargain measure or an out of
 pocket measure to different portions of the Mare Lease Contracts, manage to reduce Plaintiffs’ damages to only a
 fraction of the amount by which Plaintiffs are actually out of pocket on their ClassicStar investment and to even a
 smaller fraction of what they would be entitled to if they were awarded damages based on the full benefits promised
 to them by Defendants. Moreover, by failing to calculate prejudgment interest on Plaintiffs’ out of pocket losses, i.e,
 the amount of their investments minus any amounts recovered by them on those investments, Defendants’ counsel
 manages to reduce the amount of the interest on each Plaintiffs’ three to eleven million dollar principal investment
 balance, outstanding for over 7 years, down to less than $50,000.
 4
   Plaintiffs did not offset the amount of their recovery from their attorneys because these recoveries were on claims
 for Plaintiffs’ tax losses – which Plaintiffs did not seek from the RICO Defendants. Plaintiffs disclosed the fact of
 these recoveries to Defendants long before they filed their Motion for Summary Judgment. See, e.g., Plaintiffs’
 3/23/09 Response to Defendants’ Discovery, Exhibit C, attached, and the 7/30/09 Deposition of Lynn T.
 MacDonald, pp. 1, 10, Exhibit D, attached.

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 (“Any person injured in his business or property…shall recover threefold the damages he

 sustains and the cost of the suit, including a reasonable attorney’s fee.”); see also United

 Healthcare Corp. v. Am. Trade Ins. Co., 88 F.3d 563, 575 (8th Cir. 1996) (“an award of

 reasonable attorney’s fees and costs under RICO is mandatory” and “consistent with Congress'

 intent in enacting the civil portion of the RICO statute ‘to enlist the aid of civil claimants in

 deterring racketeering’”); Stochastic Decisions, Inc. v. DiDomenico, 995 F.2d 1158, 1167 (2d

 Cir. 1993) (§ 1964(c) requires that prevailing RICO plaintiff be awarded reasonable attorney’s

 fees); Quick v. Peoples Bank of Cullman County, 993 F.2d 793, 799 (11th Cir. 1993) (same); and

 FMC Corp. v. Varonos, 892 F.2d 1308, 1315 (7th Cir.1990) (same); Karl-Heinz Herborg v.

 Inter-Continental Brokerage Corp., 976 F.2d 737 (9th Cir. 1992) (unpublished) (district court’s

 failure to award “mandatory treble damages” was clearly erroneous under § 1964(c)); Bullock v.

 Abbott & Ross Credit Servs., LLC, No. A-09-CV-413, 2009 WL 4598330, at *4 (W.D. Tex. Dec.

 3, 2009) (“treble damages are mandatorily assessed upon a finding of liability under RICO);

 Bath Unlimited, Inc. v. O’Dwyer, No. 04-3919, 2007 WL 836605, at *5 (D.N.J. March 14, 2007)

 (“Imposition of treble damages under RICO is mandatory.”); Regency Commc’ns, Inc. v.

 Cleartel Commc’ns, Inc., 304 F. Supp. 2d 1, 12 (D.D.C. 2004) (“According to 18 U.S.C.

 1964(c), having found liability against defendants…the Court must award treble damages to

 Plaintiffs.”); MDO Dev. Corp. v. Kelly, 735 F. Supp. 591, 593 (S.D.N.Y. 1990) (“[D]efendants

 failed to submit any authority for the proposition that the statute, which states that an injured

 person ‘shall recover threefold the damages he sustains,’ did not require literal application. In

 fact, imposition of treble damages is required by RICO.”). Defendants have not cited any

 authority which suggests otherwise.




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         C.     Plaintiffs are Entitled to Prejudgment Interest on their RICO Claims.

         Without question, the Court has the discretion to award prejudgment interest on a RICO

 claim. See Abou-Khadra v. Mahshie, 4 F.3d 1071, 1084 (2d Cir. 1993). Indeed, Sixth Circuit

 courts, including this Court, have done so on more than one occasion. See, e.g., Empire Servs.,

 Inc. v. Kanza, 996 F.2d 1214, at *2 (6th Cir. 1993) (unpublished) (affirming award that included

 treble damages, prejudgment interest and attorney fees); Grange Mut. Cas. Co. v. Mack, Civil

 Action No. 02-110-JMH, Memorandum Opinion and Order (E.D. Ky. Dec. 13, 2006) [attached

 to D.E. 2271, West Hills’ Reply to Objections by GeoStar Corporation, Et Al.]. Setting aside the

 cases from this jurisdiction, even under the Second Circuit law applied by Defendants,

 prejudgment interest is appropriate in this case. See Wickham Contracting Co. v. Local Union

 No. 3, 955 F.2d 831, 833-35 (2d Cir. 1992) (finding that award of prejudgment interest was not

 abuse of discretion).

         “The purpose of prejudgment interest is to ‘compensate the plaintiff for the delay

 between the time the cause of action arose and the verdict.’” McCoy v. Alfrey, Civil Action No.

 08-112, 2010 WL 4366120, at *7 (E.D. Ky. Oct. 28, 2010). Here Plaintiffs are seeking the

 return of the cash amounts they actually invested into the fraudulent Mare Lease program in

 2003 and 2004, not a recovery of some benefit that they expected to derive at a later date.

 Defendants have had the benefit of the cash during this period, while Plaintiffs have been

 deprived of its use. The prejudgment interest award does no more than compensate Plaintiffs for

 this loss.

         Contrary to Defendants’ assertion, fairness and equity do not dictate a different result.

 Defendants have indisputably engaged in and benefitted from fraud on a grand scale, harming

 not only the Plaintiffs but dozens of others. By contrast, the Court rejected the argument that the



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 Plaintiffs bore responsibility for their own losses. Moreover, in this particular case, much of the

 delay resulted from the Defendants’ own dilatory conduct. It serves no equitable purpose to

 penalize Plaintiffs, the victims, for this delay.

         Finally, the mandatory nature of RICO’s treble damages provision does not preclude an

 award of prejudgment interest. The Sixth Circuit has affirmed an award including both treble

 damages and prejudgment interest, and other courts have done the same. See Kanza, 996 F.2d at

 2; see also Grange Mut. Cas. Co. v. Mack, Civil Action No. 02-110-JMH, Memorandum

 Opinion and Order (E.D. Ky. Dec. 13, 2006); Guyana Tele. & Tele. Co. v. Melbourne Int’l

 Commc’ns, Ltd., 329 F.3d 1241, 1245 (11th Cir. 2003); D’Orange v. Feely, No. 95-7904, 1996

 WL 446254, at *4 (2d Cir. Aug. 8, 1996) (unpublished); Lerman v. Joyce Int’l, Inc., 10 F.3d 106,

 109 (3rd Cir. 1993); Al-Kazemi v. Gen. Acceptance & Inv. Corp., 633 F. Supp. 540, 543 (D.D.C.

 1986) (including interest as part of actual damage calculation). Loss of the use of money

 (compensated by interest) comprises a component of the damages that the Plaintiffs have

 sustained. The RICO statute provides that Plaintiffs may recover three times their damages,

 without placing any limitation on what losses will be compensated, other than the general limit

 that Plaintiffs have suffered damage to their property or business. See 18 U.S.C. §1964(c). The

 fact that RICO mandates trebling after the calculation of compensatory damages does not

 preclude an award of interest as part of those damages.

         D.      Plaintiffs’ Calculation of Prejudgment Interest Uses an Appropriate Rate.

         Just as the Court has wide discretion to make Plaintiffs whole by awarding prejudgment

 interest, the Court has wide discretion to select the appropriate interest rate. See McCoy, 2010

 WL 4366120, at *7 (awarding prejudgment interest on § 1983 claim at state rate of 8%). While

 some courts have looked to the federal post-judgment interest statute to establish the applicable



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 rate in the absence of guidance in the particular act under consideration, many others have

 looked to state law. See Quaker Oats Co. v. Int’l Chem. Workers Union, No. 92-5070, 1993 WL

 47199, at *3 (6th Cir. May 28, 1993) (unpublished) (where court has discretion to award

 prejudgment interest under LMRA, statute prejudgment interest rate should be used); Verhoff v.

 Time Warner Cable, Inc., No. 3:05CV7277, 2007 WL 2815216, at *2 (N.D. Ohio Sept. 26,

 2007) (interpreting the “prevailing rate” under the FMLA to be the state rate); IBEW Local No.

 573 v. Steen Elec., Inc., 232 F. Supp. 2d 797, 806 (N.D. Ohio 2002) (using state rate in case

 enforcing Labor-Management Committee award); Ford Motor Co. v. Transport Indem. Co., 45

 B.R. 843, 846-47 (E.D. Mich. 1984) (noting that the federal post-judgment interest statute does

 not preclude an award of prejudgment interest and finding that the state statutory amount

 represented a fair value). Significantly, both the Sixth Circuit and this Court have looked to state

 law for the appropriate prejudgment interest rate in RICO cases. See Kanza, 996 F.2d at 2;

 Grange Mut. Cas. Co. v. Mack, Civil Action No. 02-110-JMH, Memorandum Opinion and Order

 (E.D. Ky. Dec. 13, 2006). Given the similarity of Plaintiffs’ RICO claims to state law fraud

 claims, and given this Court’s and the Sixth Circuit’s prior use of the state statutory rate in RICO

 claims, the rate used in the Keeney Report represents the most appropriate standard.

                                          CONCLUSION

        For the reasons stated herein and in Plaintiffs’ prior submissions to the Court, the Court

 should overrule the GeoStar Defendants’ Objections and calculate damages as requested by

 Plaintiffs and reflected in their August 17, 2011 Notice.




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                                            Respectfully submitted,


                                            /s/ Barry D. Hunter
                                            Paul E. Sullivan
                                            Barry D. Hunter
                                            Medrith Lee Norman
                                            Frost Brown Todd LLC
                                            250 West Main Street, Suite 2700
                                            Lexington, Kentucky 40507-1749
                                            Telephone: (859) 231-0000
                                            Facsimile:     (859) 231-0011

                                            Robert C. Webb
                                            Frost Brown Todd LLC
                                            400 West Market Street, 32nd Floor
                                            Louisville, Kentucky 40202-3363
                                            Telephone: (502) 589-5400
                                            Facsimile:    (502) 581-1087

                                            Attorneys for West Hills Farms, LLC,
                                            Arbor Farms, LLC, Nelson Breeders, LLC,
                                            MacDonald Stables, LLC and Monica and
                                            Jaswinder Grover




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                                        CERTIFICATE OF SERVICE

           This is to certify that a true and correct copy of the foregoing has been electronically filed

  on September 9, 2011, with the Clerk of the Court by using the CM/ECF system, which will send

  a notice of electronic filing to the parties of record.



                                                            /s/ Barry D. Hunter
                                                            Counsel for Plaintiffs West Hills
                                                            Farms, LLC, Arbor Farms, LLC,
                                                            Nelson Breeders, LLC, MacDonald
                                                            Stables, LLC and Monica and Jaswinder
                                                            Grover



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